 Case 2:19-cr-20772-TGB-APP ECF No. 15 filed 12/11/19            PageID.45    Page 1 of 4



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                           Plaintiff,          Cr. No. 19-cr-20772
v.                                             Judge: Terrence G. Berg

MATTHEW MERCER-KINSER,

                           Defendant.
                                                    /

                    STIPULATION SEEKING ADJOURMENT

       Through their respective counsel, the parties stipulate and agree to a 90-day

extension of the currently scheduled motion, plea and trial deadlines. The parties agree

and stipulate that the additional time is necessary for the parties to receive and review

discovery, conduct investigation, file motions, and engage in plea negotiations.

Pursuant to 18 U.S.C. § 3161(h)(7), the parties stipulate that the extended time period

shall constitute excludable delay and that the ends of justice served by this delay

outweigh the interests of the defendant and the public in a speedy trial. Defendant also

waives his right to a speedy trial and agrees that the continuance requested is reasonable

and necessary. The parties request that the court enter an order consistent with this

stipulation.
Case 2:19-cr-20772-TGB-APP ECF No. 15 filed 12/11/19   PageID.46   Page 2 of 4



                                              IT IS SO STIPULATED.

                                              Respectfully submitted,


s/Erin Shaw (w/consent)                       s/Todd A. Shanker
Assistant United States Attorney              Counsel for Defendant
211 W. Fort Street, Suite 2001                613 Abbott, 5th floor
Detroit, Michigan 48226                       Detroit, MI 48226
Phone: (313) 226-9100                         (313)967-5879
e-mail: erin.shaw@usdoj.gov                   e-mail: todd_shanker@fd.org




Dated: December 11, 2019
 Case 2:19-cr-20772-TGB-APP ECF No. 15 filed 12/11/19           PageID.47     Page 3 of 4



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                          Plaintiff,           Cr. No. 19-cr-20772
v.                                             Judge: Terrence G. Berg

MATTHEW MERCER-KINSER,

                           Defendant.
                                                    /

                       ORDER OF ADJOURNMENT AND
                         FINDING OF EXCLUDABLE
                                 DELAY

             This matter having come before the Court upon the stipulation of the

 parties, the Court finds that the period of adjournment shall be excluded in

 calculating the time within which the defendant has a right to a speedy and public

 trial pursuant to the Speedy Trial Act, 18 U.S.C. §3161(h). The Court further finds

 that such a delay is necessary to permit the parties to review discovery, conduct

 investigation, and engage in plea negotiations pursuant to 18 U.S.C. § 3161(h)(7).

             IT IS ORDERED that pursuant to the Speedy Trial Act, 18 U.S.C. §

 3161, and in consideration of the factors listed in section 3161(h)(7), the ends of

 justice are best served by granting an adjournment in this case, and these ends

 outweigh the interest of the public and the defendant in a speedy and public trial

 and that any delay occasioned by this adjournment shall be deemed excludable

 under the Speedy Trial Act.
Case 2:19-cr-20772-TGB-APP ECF No. 15 filed 12/11/19          PageID.48    Page 4 of 4




           The period of January 14, 2020, - April 14, 2020 shall constitute

excludable delay under the Speedy Trial Act.


Motions: 3/13/2020

Plea cutoff: 3/13/2020

Final Pretrial: 4/2/2020 at 10:00 a.m.

Trial: 4/14/2020 at 9:00 a.m.


      IT IS SO ORDERED.
                                               /s/Terrence G. Berg
                                                JUDGE TERRENCE G. BERG
                                                UNITED STATES DISTRICT JUDGE
Date: December 11, 2019
